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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA


  INTERNATIONAL HEALTH BRANDS, LLC,                              Case No. 9:24-cv-80679-DMM
  a Delaware limited liability company,

                             Plaintiff,

        vs.

  ASHLEE R. FOY, an individual;
  MICHAEL L. KAUFMAN, an individual;
  and KCM BRANDS, LLC, a Florida limited
  liability company,

                             Defendants.


     MEMORANDUM IN SUPPORT OF PLAINTIFF’S EXPEDITED MOTION TO
   VOLUNTARILY DISMISS WITHOUT PREJUDICE AND STAY PROCEEDINGS OR,
           IN THE ALTERNATIVE, FOR THE POSTING OF A BOND

              Pursuant to Fed. R. Civ. P. 41(a)(2), Plaintiff, International Health Brands, LLC

  (“Plaintiff”), seeks an order dismissing all claims asserted against Defendant Ashlee R. Foy

  (“Foy”), Defendant Michael L. Kaufman (“Kaufman”), and KCM Brands, LLC (“KCM”)

  (collectively, the “Defendants”) by Plaintiff without prejudice. Pending the resolution of the

  motion, the Court should stay all proceedings. As set forth below, the decision to dismiss is based

  on valuation and collectibility. Defendants have expressed a desire to prolong this litigation, and

  thus alternative relief is sought as follows: Defendants should demonstrate that they made over

  $300,000 in unjust profits and post a bond of $600,000, and if they do, Plaintiffs will accommodate

  the Defendants’ desire to prolong the case.

  1.0         INTRODUCTION AND FACTUAL BACKGROUND

              Plaintiff brought this action under the Defend Trade Secrets Act and its Florida counterpart,

  the Florida Uniform Trade Secrets Act, due to Foy, a former employee, absconding with protected
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  secrets and using those secrets to start a competing business with Kaufman, KCM. See, generally,

  Complaint, ECF No. 1. Plaintiff brought this action to recover damages, attorneys’ fees and costs,

  permanent injunctive relief, and declaratory relief regarding Foy’s termination. See id.

            In the course of litigating this matter, Plaintiff has determined that the damages to be

  recovered are significantly lower than prevailing at trial. Even though Plaintiff is confident that it

  would prevail, the expense of suit is not worth it.

  2.0       LEGAL STANDARD

            Fed. R. Civ. P. 41(a)(2) provides that a plaintiff may dismiss an action “by court order, on

  terms that the court considers proper.” 1 The district court has “broad discretion” in determining

  whether to allow a voluntary dismissal under Rule 41(a)(2). McCants v. Ford Motor Co., Inc.,

  781 F.2d 855, 857 (11th Cir. 1986). However, “a voluntary dismissal should be granted unless the

  defendant will suffer clear legal prejudice, other than the mere prospect of a subsequent lawsuit,

  as a result.” Id. Thus, the issue is whether the defendant would lose any substantial right by

  dismissal. Pontenberg v. Boston Sci. Corp., 252 F.3d 1253, 1255 (11th Cir. 2001). No defendant

  would lose any rights by voluntary dismissal without prejudice.

  3.0       LEGAL ARGUMENT

            Plaintiff, International Health Brands (“IHB”) owns and operates a number of subsidiary

  brands in the natural health supplement marked. (Complaint, ECF No. 1, at ¶ 10). Defendant

  Ashelee Foy was hired on June 17, 2022, as IHB’s Vice President of Operations and Brands,

  subsequently promoted to Chief Operating Officer. Id. at ¶¶ 15-18. Her job included the

  development of new products and marketing strategies. Id. at ¶ 20. During the course and scope



        1
         Plaintiff cannot voluntarily dismiss by notice under Rule 41(a)(1)(A)(i) as all defendants
  have answered. (ECF Nos. 10 & 43).
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  of her employment with IHB, she developed a unique supplement product (“IHB Formulation”),

  which IHB initially worked on, but then chose to back burner. Id. at ¶¶ 30-32. Defendants, in

  their answers, assert she developed it prior to her employment with IHB, but they have offered no

  evidence of this. In contrast, Plaintiff has produced significant documentation showing that the

  development of the product occurred in the course and scope of Foy’s employment.                   See

  IHB_000199–IHB_000237. 2

         While still employed with IHB, Foy, in collaboration with Kaufman and KCB, began

  marketing the IHB Formulation as their own product under the “Spike + Reset” brand. Complaint

  at ¶¶ 34, 37-39 & 46. It also became apparent that Foy had taken the confidential IHB Email List

  to market it. Id. at ¶¶ 33, 35 & 36; see also IHB_000056 – IHB_000061. 3 Foy was confronted

  about this and lied. Complaint at ¶¶ 40-45. It also became apparent that Foy and the other

  defendants, while Foy was employed, launched the Renuology Brand (despite IHB owning the

  fruits of Foy’s labors) using information unlawfully taken from IHB. Complaint at ¶¶ 51-63. Foy

  was, thus, terminated by IHB, effective October 17, 2023. Id. at ¶ 97. Plaintiff, thus, brought

  claims under the federal Defend Trade Secrets Act (18 U.S.C. § 1839); under the Florida Unform

  Trade Secrets Act (Fla. Stat. § 688.002); for breach of contract against Foy; and for tortious

  interference against Kaufman and KCM Brands. 4




     2
          These are referenced for the benefit of Defendants’ counsel, so they cannot dispute this
  assertion without violating Fed. R. Civ. P. 11. The documents are confidential, and Plaintiff is not
  seeking to put them before the Court at this time.
      3
          Again, this is for the benefit of Defendants’ counsel, who seem not to recognize that they
  are in possession the documents demonstrating that Defendants used the purloined IHB Email List.
      4
          An additional claim was brought to declare her weaponization of Title VII to try to protect
  her theft of trade secrets as meritless, but the Court determined that it would not assess past conduct
  in furtherance of a declaratory judgment. (ECF No. 35).
                                                 -3-
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          Under the DTSA, the court may award “damages for unjust enrichment caused by

  misappropriation of the trade secret.” 18 U.S.C. § 1836(b)(3)(B)(i)(II). 5 The measure of damages,

  then, is the amount of Defendants’ ill-gotten profits. 777 Partners LLC v. Pagnanelli, 2023 U.S.

  Dist. LEXIS 122548, at *58 (S.D. Fla. July 14, 2023). During the course of this litigation, Plaintiff

  has identified a lack of engagement with the Defendants’ business’ social media, which caused

  Plaintiff to conclude that Defendants are not likely to have made significant profits in their lawless

  business venture. See Exhibit 1, Declaration of Lauren Bradford at ¶ 4 (“Bradford Decl.”). While

  DTSA and FUTSA are fee-shifting statutes, a fee award is not guaranteed. See 18 U.S.C.

  § 1836(b)(3)(D) & Fla. Stat. § 688.005. Plaintiff thus concluded that the cost of continuing

  litigation would far exceed the apparent minimal profits Defendants have made. See Bradford

  Decl. at ¶ 5. Plaintiff has determined that, as a business decision, it is not presently worth it to

  continue litigating this matter. See id. at ¶ 6.

          Defendants would not be prejudiced or lose any substantial right from a dismissal without

  prejudice. On the contrary, dismissal would benefit the Defendants. They would be free to operate

  their failing business and retain all of their ill-gotten gains, which Plantiff sought to disgorge.

          There is no reason to deny voluntary dismissal without prejudice. 6 “The crucial question

  to be determined is, [w]ould the defendant lose any substantial right by the dismissal.” Durham v.


      5
         A plaintiff may also recover actual losses or a reasonable royalty. 18 U.S.C.
  § 1836(b)(3)(B)(i)(I), (III). However, as IHB chose not to bring the formulation to market, the
  best measure of damages is the unjust enrichment. Similarly, damages for a FUTSA violation
  “can include both the actual loss caused by misappropriation and the unjust enrichment caused by
  misappropriation.” Fla. Stat. § 688.004(1).
      6
         Plaintiff would withdraw its request were dismissal to be with prejudice. “Dismissal
  without prejudice is the general rule, not the other way around.” United States v. $70,670.00 in
  United States Currency, 929 F.3d 1293, 1302 (11th Cir. 2019). “[A] district court should depart
  from the general rule only when failing to do so would work clear legal prejudice to the opposing
  party.” Id. Defendants would suffer no clear legal prejudice were the matter dismissed without
  prejudice.
                                                 -4-
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  Fla. E. Coast Ry. Co., 385 F.2d 366, 368 (5th Cir. 1967). Defendants would lose no substantive

  rights here. Defendants are expected to argue that this motion was filed to avoid a potentially

  adverse ruling on the pending discovery motion (ECF No. 44); it was not. Bradford Decl. at ¶ 7

  However, even if it were, “an attempt to avoid an adverse ruling, in and of itself, is insufficient”

  to deny dismissal. City of Jacksonville v. Jacksonville Hosp. Holdings Ltd. P'ship, 2024 U.S. App.

  LEXIS 11759, at *8 (11th Cir. May 15, 2024) (citing Pontenberg v. Bos. Sci. Corp., 252 F.3d

  1253, 1258 (11th Cir. 2001)). However, this accusation is without merit, without support, and

  further the alternative relief sought should not be opposed if this is truly the Defendants’ position

  – that litigation against them remains worthwhile financially, and the parties should still litigate

  the discovery issue.

            Dismissal should be without costs. An award of costs in the face of a voluntary dismissal

  is given when defendants incur “considerable” expense. McCants, 781 F.2d at 860 (emphasis

  added).     Here, Defendants have incurred little expense.         No depositions have been taken.

  Defendants have not yet responded to any discovery. The only significant motion practice was a

  limited motion to dismiss and an overbroad and improper motion to compel. Thus, dismissal

  without prejudice is appropriate, with each party to bear their own fees and costs.

            Given the reasoning to dismiss this case is financial, it is proper to stay proceedings pending

  the outcome of the Motion. This would not prejudice the Defendants as it would halt any further

  legal fees. A stay the proceedings is appropriate and non-prejudicial for all parties, avoiding

  further costs, including the hearing set for February 10, 2025.

  4.0       ALTERNATIVE RELIEF OF A BOND

            As set forth above, the voluntary dismissal is based on Plaintiff’s belief that the cost of

  litigating to a win exceeds the likely recovery and collectable assets in the Defendants’ possession.

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  Plaintiff has served discovery requests, as yet unanswered, that would otherwise determine both

  the net profits from the sale of the IHB Formula and ability of Defendants to pay a judgment.

  Undersigned counsel estimates that it would cost Plaintiff approximately $300,000 to bring the

  matter to trial and judgment. As an alternative to dismissal, if Defendants can show that they made

  at least $300,000 in net profits from the sale of the IHB Formula, Plaintiff requests that the Court

  order Defendants to post a bond to ensure collection in the amount of $600,000 (covering both the

  minimum net profits and an attorneys’ fee award). While the Federal Rules do not explicitly

  provide for the functional equivalent of a pre-judgment supersedeas bond, fairness and equity

  dictate that one should be ordered. Plaintiffs have investigated and concluded that they are chasing

  a miniscule damages award, and in the event there are more than nominal damages, Defendants

  are likely without resources to pay the damages and fees. Defendants insist that they prefer to

  continue this litigation, despite Plaintiff’s willingness to end it. Thus, we are in the unusual

  circumstance of a Plaintiff chasing an empty pocket, who chooses to comport itself with economy

  toward its resources, those of Defendants, and those of the Court. If the litigation is to continue

  only because Defendant wants it to, then Defendant should be compelled to provide some

  assurance of the value of the litigation and collectibility. Such would further the “just” and

  “inexpensive” determination of this action. Fed. R. Civ. P. 1.

  5.0    CONCLUSION

         For the foregoing reasons, the Court should allow International Health Brands, LLC, to

  dismiss its claims in this action without prejudice, with each party to bear their own fees and costs.

  And, further, the Court should stay all procedings in this matter pending the outcome of this

  motion. Alternatively, the Court should require the posting of a bond by Defendants in the amount




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  of $600,000, upon evidence from Defendants of net profits from the sale of the IHB Formula in

  the amount of at least $300,000.

         Dated: February 6, 2025.                      Respectfully submitted,
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                                                       International Health Brands, LLC




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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on February 6, 2025, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I further certify that a true and correct copy

  of the foregoing document being served via transmission of Notices of Electronic Filing generated

  by CM/ECF.

                                                /s/ Marc J. Randazza
                                                MARC J. RANDAZZA




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